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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

WANDA K. W,,

Plaintiff,
Vv. Case No. 3:19-cv-01915-S-BT
ANDREW SAUL,

Commissioner of the
Social Security Administration,

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Defendant.

ORDER ACCEPTING FINDINGS, CONCLUSIONS, AND
RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE

The Court has under consideration the Findings, Conclusions, and
Recommendation of United States Magistrate Judge Rebecca Rutherford dated
July 31, 2020 [ECF No. 20]. The Court has reviewed the Findings, Conclusions,
and Recommendation for plain error. Finding none, the Court accepts the
Findings, Conclusions, and Recommendation of the United States Magistrate
Judge.

SO ORDERED.

SIGNED September _/&, 2020.

 

 

KAREN GREN SCHOLER
UNITED STATES DISTRICT JUDGE

 
